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application.        mother did not know about the side door.




Synopsis:
CHS Day 5 Proffer 11/01/2018

                                                SIGNATURE

                 Submitted By
     First Level Approved By




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